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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RUDY SLACK,

      Defendant.                                     Case No. 05-cr-30133-7-DRH


                                      ORDER

HERNDON, District Judge:

             Before the Court is defendant Rudy Slack’s Motion for Additional Time

to File Motion for New Trial (Doc. 436). Slack requests this additional time in order

to more fully research and prepare such Motion. Pursuant to Federal Rule of

Criminal Procedure 33(b)(2), “any motion for a new trial grounded on any reason

other than newly discovered evidence must be filed within 7 days after the verdict or

finding of guilty.” However, the Court may permit an extension of time under

Federal Rule of Criminal Procedure 45(b).

             The above-case amounted to a lengthy trial, involving Slack and four

other codefendants. Undoubtedly, for counsel to review the record of the trial, in

order to identify, research and argue grounds in support of a new trial will likely

require more time than the statutory 7 days given under Rule 33(b)(2). Further, the

Motion states that the Government does not object to this request. Therefore, for


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good cause shown, defendant Smith’s Motion (Doc. 436) is GRANTED. Defendant

Slack shall have until March 26, 2007 to file his Motion for New Trial.

            IT IS SO ORDERED.

            Signed this 21st day of February, 2007.

                                                      /s/      David RHerndon
                                                      United States District Judge




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